                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:
                                                                Case No. 11-49943
          ANNA L. HENDERSON,                                    Chapter 7
                                                                Hon. Walter Shapero
                  Debtor,
______________________________/

          DANIEL M. MCDERMOTT,

                         Plaintiff,

v.                                                              Adversary No. 11-06271

          KAMILAH WALID,

                  Defendant.
______________________________/

         OPINION REGARDING MOTIONS FOR PARTIAL SUMMARY JUDGMENT
                    (DOCKET NOS. 20 & 25) AND CASE STATUS

          Before the Court is an adversary proceeding brought by the United States Trustee (“Plaintiff”)

against Kamilah Walid (“Defendant”) incident to her admitted role as a bankruptcy petition preparer

(“BPP”) in the chapter 7 bankruptcy of Anna Henderson (“Debtor”). Numerous, partial, overlapping,

and repetitive filings are clearly hindering the timely adjudication of this matter. A parsing of the

docket is therefore necessary in order to distinguish this Court’s operative orders, the issues resolved

thereby, and those that remain for trial.

          In the complaint (Docket No. 1), Plaintiff claims that Defendant violated numerous

subsections of 11 U.S.C. §§ 110, 526, & 528, and that the following remedies are consequently

appropriate:



          (1)    Defendant’s payment to Debtor of no less than $2,000;



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       (2)     Defendant’s payment to the Court of no less than $5,000;

       (3)     Defendant’s payment to Plaintiff of no less than $500;

       (4)     Injunctive relief prohibiting Defendant from violating bankruptcy provisions
               governing BPPs; and

       (5)     Permanent enjoinment of Defendant from acting as a BPP or otherwise providing
               bankruptcy assistance to assisted people.

       On December 14, 2011, Defendant filed a motion for partial summary judgment (Docket

No. 20) based soley on the permanent enjoinment remedy. On January 11, 2012, Plaintiff filed his

own motion for partial summary judgment (Docket No. 25) based only on the payment remedies to

Debtor and Plaintiff and the injunctive relief remedy. Plaintiff made clear that the § 526(c) relief

sought in the complaint was not the subject of his motion. (Not addressed by either motion was the

remedy seeking payment to the Court.) A hearing was held on both motions on February 16, 2012,

which resulted in the Court granting Plaintiff’s desired injunctive relief and taking under advisement

the remaining matters.

       On March 27, 2012, Plaintiff filed his second motion for summary judgment (Docket No. 38);

this time seeking judgment on the permanent enjoinment issue and the § 526(c) payment remedies

to Debtor and Plaintiff. (Once again, the remedy seeking payment to the Court was not addressed.)

Defendant failed to timely respond. Plaintiff accordingly filed a certificate of non-response (Docket

No. 39), and an order followed (Docket No. 40) on April 23, 2012, (1) permanently enjoining

Defendant from acting as a BPP and otherwise providing bankruptcy assistance to assisted people

and (2) requiring Defendant to pay $5,000 to Plaintiff. Defendant filed two motions thereafter to

vacate the order (Docket Nos. 41 & 74), and the Court denied both (Docket Nos. 68 & 79). A third

is presently pending before the Court (Docket No. 86).

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        Three of the five remedies sought by Plaintiff had been granted after entry of said order:

injunctive relief against future proscribed conduct, permanent enjoinment, and required payment to

Plaintiff of $5,000. The only matters left thereafter pertained to whether Defendant should be found

liable to Debtor and the Court and, if so, to what extent. The former matter is a question still under

advisement in Plaintiff’s first dispositve motion. The latter remains untouched and apparently

preserved for trial.

        As for that former matter, the Court hereby rules in favor of Plaintiff and his § 110(i)(1)(B)

argument, and finds that Defendant is required to pay $2,000 to Debtor. Section 110(i) provides:

“(1) If a bankruptcy petition preparer violates this section or commits any act that the court finds to

be fraudulent, unfair, or deceptive, on the motion of the . . . United States trustee . . . the court shall

order the bankruptcy petition preparer to pay to the debtor– . . . (B) the greater of $2,000; or . . . .”

(Emphasis added.) There is no question based on the record that Defendant’s proscribed conduct

subjects her to § 110(i)(1)(B). Defendant concedes as much. She argues, however, that the statute

is discretionary; that the Court should exercise that discretion, given her alleged remedial efforts; and

that Debtor should be awarded not more than one dollar. Defendant advances her argument in

reliance on In re Boyce, 317 B.R. 165 (Bankr. D. Utah 2004). Plaintiff is correct in that Boyce is

neither controlling nor should be considered convincing here. This Court and others in the Eastern

District of Michigan have repeatedly recognized § 110(i)(1)(B) as being compulsory, not

discretionary. See, e.g., Hills v. McDermott (In re Wicker), 2012 U.S. Dist. LEXIS 22231, at *7-8

(E.D. Mich. 2012) (O’Meara, J.), aff’g 2008 Bankr. LEXIS 2978, at *15-16 (Bankr. E.D. Mich. 2008)

(Shefferly, C.J.); In re Cason, No. 11-41480, slip op. at 6-7 (Bankr. E.D. Mich. 2011) (this Court);

In re Warfield, No. 09-75993, slip op. at 9 (Bankr. E.D. Mich. 2010) (this Court). The statute states


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that “the court shall order the [BPP] to pay the debtor . . . .” (Emphasis added.) As Plaintiff only

seeks to have Defendant pay to Debtor the required $2,000 minimum, it is that amount the Court so

orders Defendant to pay.

       The only triable issue left from hereafter pertains to whether Defendant should pay some to

the Court. An order is being entered contemporaneously which so indicates, and the parties should

proceed accordingly.
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Signed on September 21, 2012
                                                           /s/ Walter Shapero
                                                       Walter Shapero
                                                       United States Bankruptcy Judge




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